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                   UNITED STATES DISTRICT COURT
                    MIDDLE DISTRICT OF FLORIDA
                          OCALA DIVISION

  UNITED STATES OF AMERICA

  v.
                                               Case No. 5:20-cr-40-Oc-28PRL

  CHRISTINA LYNN CATALANO
  ____________________________________/

                   DEFENDANTS’ UNOPPOSED MOTION
                     TO AMEND BOND CONDITIONS

        Christina Lynn Catalano, through counsel, moves for an amendment of

  her conditions of bond, based on the following considerations:

        1.     On October 8, 2020, following a hearing to determine whether bond

  should be revoked, the Court entered an order setting more restrictive conditions

  of bond. The order states: “The defendant is restricted to her residence at all

  times except for employment, education, religious services, medical, substance

  abuse or mental health treatment, attorney visits, court appearances, court-

  ordered obligations, or other activities as approved in advance by the pretrial

  services office or supervising officer.” Doc. 40. Location monitoring is a

  requirement of Ms. Catalano’s bond conditions.

        2.     Subsequently on November 6, 2020, following a request by Ms.
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  Catalano, the Court entered an Order amending her bond conditions. The

  amendment permitted her to go to the grocery story two times per week for a

  reasonable period of time and to go outside, into her backyard, for two hours per

  day.

         3.    On November 30, 2020, following a hearing to determine whether

  her codefendant-husband Joseph Catalano’s bond should be revoked, the Court

  entered an Order amending his bond conditions to require location monitoring.

  Mr. Catalano is not under a home detention condition.

         4.    Ms. Catalano requests, through the filing of this motion, that her

  bond conditions be amended so that home detention is no longer a condition of

  her bond but that the location monitoring condition remain in effect.

  Additionally, after consultation with counsel for the government, Assistant U.S.

  Attorney Michael Felicetta, it is Ms. Catalano’s request that the Court substitute

  a curfew condition instead of home confinement. The contemplated curfew,

  agreeable to both sides, is that Ms. Catalano be in her home from 10:00 p.m. to

  6:00 a.m. each day.

         5.    Mr. Felicetta is unopposed to this motion so long as the above-

  referenced curfew condition is substituted for home confinement.

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                                           Respectfully submitted,

                                           James T. Skuthan
                                           Acting Federal Defender


                                           s/ Mark Rosenblum
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                         CERTIFICATE OF SERVICE
        I certify that on December 14, 2020, I electronically filed the foregoing

  with the Clerk of Court by using the CM/ECF system, which will send notice

  of electronic filing to all counsel of record.


                                              s/ Mark Rosenblum
                                              Assistant Federal Defender




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